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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

JEANE BOLIN                                      §
     Plaintiff,                                  §
                                                 §
vs.                                              §          1:17-cv-00364
                                                 §          Civil Action Number
STATE AUTOMOBILE MUTUAL                          §
INSURNACE COMPANY                                §
     Defendant.                                  §          Jury
                                                 §

                          DEFENDANT'S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant, State Automobile Mutual Insurance Company ("State Auto"), files this Notice

of Removal pursuant to 28 U.S.C. §1446(a), and respectfully shows as follows:

                                             I.
                                       INTRODUCTION

I.     Plaintiff is Jeane Bolin (hereinafter "Plaintiff'); Defendant is State Automobile Mutual

Insurance Company (hereinafter "State Auto" or "Defendant"). There are no other parties. See

Plaintiffs Original Petition, attached as Exhibit "A- 1".

2.     On March 28, 2017, Plaintiff filed Cause No. D-1-GN-17-001332, Jeane Bolin vs. State

Automobile Mutual Insurance Company in the 1261h Judicial District Court of Travis County,

Texas ("State Court Action"). See Exhibit "A - I". Plaintiffs suit alleges breach of contract,

violations of the Texas Insurance Code, violations of the Texas Deceptive Trade Practices Act,

fraud, and breach of the duty of good faith and fair dealing, relating to damage allegedly suffered

at Plaintiffs property located at 2238 Hwy 163, Colorado City, Texas 79512. See Exhibit "A-

1". Plaintiff demanded a trial by jury in her Original Petition. See Exhibit "A- 1."




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3.      A citation was issued and State Automobile Mutual Insurance Company was served on

March 30, 2017. See Exhibit "A - 3" and Affidavit of Mike Myers attached as Exhibit "B".

State Auto files this Notice of Removal within the 30-day time period required by 28 U.S.C.

§1446(b). Bd of Regents of Univ. of Tex. Sys. v. Nippon Tel. & Tel. Corp., 478 F.3d 274, 278

(5th Cir. 2007).

4.     Plaintiff has not filed any amended pleadings and no additional parties have been joined.

The State Court's Docket Sheet is attached as Exhibit "A- 4."

                                      II.
                    REMOVAL BASED ON DIVERSITY JURISDICTION

5.         Pursuant to 28 U.S.C. § 1332(a), State Auto removes this case as it involves a

controversy between parties of diverse citizenship and an amount in controversy that exceeds

$75,000.

6.         Plaintiff is a citizen of Texas. See Exhibit "A- 1". State Auto is a foreign corporation

organized under the laws of the state of Ohio with its principal place of business located at 518

E. Broad Street, Columbus, Ohio 43215. See Exhibit "B."

7.         Additionally, the amount in controversy exceeds $75,000, excluding interest and costs.

28 U.S.C. § 1332(a). Plaintiffs Original Petition seeks monetary relief "over $200,000 but not

more than $1,000,000." See Exhibit "A- 1."

8.         State Auto is the only defendant in this action; therefore, no consent is needed for the

removal of this case to federal court.

9.         An Index of Exhibits is attached as Exhibit "A". Copies of all pleadings, process,

orders, and other filings in the State Court Action are attached to this notice as Exhibits "A - 1"

through "A- 3" as required by 28 U.S.C. § 1446(a).




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10.        Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where

the suit has been pending is located in this District and within this Division.

11.        State Auto will promptly file a copy of this Notice of Removal with the clerk of the

court in the pending State Court Action.

                                                 III.
                                        JURY DEMANDED

12.        Plaintiff demanded a jury in the State Court Action.

                                               IV.
                                             PRAYER

          WHEREFORE, PREMISES CONSIDERED, Defendant, State Automobile Mutual

Insurance Company, prays that this case be removed to the United States District Court for the

Western District of Texas, Austin Division, and that further proceedings in the State Court

Action be discontinued, and that this Court assume full jurisdiction over such action as provided

by law.

                                               Respectfully submitted,

                                                   Is! Sterling Elza
                                               Sterling Elza
                                               Attorney-In-Charge
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                                               Alicia A. Murphy
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                                               ATTORNEY FOR DEFENDANT,
                                               STATE AUTOMOBILE MUTUAL
                                               INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE

        This is to certifY that a true and correct copy of the above and foregoing was served upon
the Plaintiff by serving her counsel of record, Mike O'Brien, Mike O'Brien, P.C., 14355
Highway 105, Washington, Texas 77880, (713) 222-0888 via fax and certified mail, return
receipt requested, and Dalli H. Seyb, Law Office of Dalli H. Seyb, 752 Main Street, Suite 164,
Mansfield, Texas 76063 via certified mail, return receipt requested, in accordance with the
Federal Rules of Civil Procedure, on this the 21" day of April, 2017.

                                              Is! Sterling Elza
                                             Sterling Elza




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